                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                      )       DOCKET NO. 1:06CR194/3
                                              )
               vs.                            )       ORDER FOR DISMISSAL
                                              )
3)ROSALIO MARTINEZ                            )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment as to the captioned Defendant.

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the Bill of Indictment as to this Defendant only is hereby DISMISSED WITHOUT

PREJUDICE.

       The Clerk is directed to transmit copies of this Order electronically to the Defendant’s

counsel, the United States Attorney’s Office, the United States Probation Office, and the United

States Marshal.


                                                  Signed: September 18, 2006




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